41 F.3d 1493
    Bruce LUCERO, M.D., Plaintiff-Appellee,v.OPERATION RESCUE OF BIRMINGHAM, Birmingham Rescue Mission;Randall Terry;  Joseph Foreman, Defendants,James Pinto, Defendant-Appellant,Leonard Gavin;  John Michael Vice;  Bill Stamp;  DougScofield;  Scott Houser, Defendants.
    No. 93-6567.
    United States Court of Appeals,Eleventh Circuit.
    Jan. 10, 1995.
    
      Michael J. Evans, Kimberly R. West, Albert Jordan, (Interested Party), Wallace Jordan, Ratliff, Byers &amp; Brandt, Birmingham, AL, for appellant.
      Alan M. Pollack, Mitchell Mandell, New York City, for appellee.
      Appeal from the United States District Court for the Northern District of Alabama.
      Before EDMONDSON and BIRCH, Circuit Judges, and HILL, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      This court--acting through a motions panel--granted leave to hear defendant-appellant Pinto's interlocutory appeal of the district court's order retaining supplemental jurisdiction over plaintiff Lucero's state law claims, where Lucero had no pending federal claims.  But, then the district court reinstated Lucero's federal RICO claim.  In the light of this reinstated federal claim, the interlocutory appeal has become a wasteful expenditure of appellate court resources.*  See United States v. Bear Marine Services, 696 F.2d 1117 (5th Cir.1983).  Therefore, the order granting leave to appeal is VACATED.  And, the case is REMANDED to the district court.
    
    
      2
      VACATED and REMANDED.
    
    
      
        *
         District courts are invited to contact this court directly when one of their orders potentially affects the status of an interlocutory appeal
      
    
    